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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
JESSICA WALKER, )
)
Plaintiff, ) Case No.
)
Vv. ) Judge
)
) JURY DEMAND
THE CITY OF COUNTRY CLUB HILLS; )
OFFICER R. LACHAPELLE, Star 50; )
OFFICER C. MAXWELL, Star 48, )
)
Defendants. )

COMPLAINT
NOW COMES, the Plaintiff, JESSICA WALKER, by and through her attorneys, THE
LAW OFFICE OF JASON M. MARX, LLC, and in complaining of DEFENDANTS THE CITY
OF COUNTRY CLUB HILLS, OFFICER R. LACHAPELLE, Star 50, and OFFICER C.
MAXWELL, Star 48, states as follows:
INTRODUCTION
1. This is an action for civil damages brought under 42 U.S.C. § 1983 for deprivation of
PLAINTIFF’S constitutional rights and rights under Illinois law.
2. This Court has jurisdiction pursuant to 28 U.S.C. §1331, §1343 and §1367(a).
3. Venue in this district is proper pursuant to 28 U.S.C. §1391(b) because the facts
which give rise to the claims asserted herein occurred in the Northern District of
Illinois.
4. PLAINTIFF is an individual who at all times relevant hereto was present in the

Northern District of Illinois.
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DEFENDANTS OFFICER R. LACHAPELLE, Star 50 and OFFICER C.
MAXWELL, Star 48, (collectively “DEFENDANT OFFICERS”) were at all times
material hereto, duly appointed Officers employed by DEFENDANT THE CITY OF
COUNTRY CLUB HILLS (hereinafter “DEFENDANT CITY”) acting in the
capacity of sworn law enforcement officials.
DEFENDANT CITY at all relevant times was an Illinois Municipal Corporation, duly
chartered and organized under the laws of the State of Illinois, located entirely within
this judicial district.

FACTUAL SUMMARY
On January 1, 2019, at approximately 11:36p.m., PLAINTIFF and DEFENDANT
OFFICERS were located at approximately 17690 Arlington Drive, County Club Hills,
Illinois.
At the time DEFENDANT MAXWELL arrived on scene, he activated his body worn
camera in compliance with the rules and regulations of the Country Club Hills Police
Department.
At the time DEFENDANT LACHAPELLE arrived on scene, he did not activate his
body worn camera in violation of the rules and regulations of the Country Club Hills
Police Department.
At the above time and location, DEFENDANT OFFICERS used excessive force
against PLAINTIFF.
Prior to DEFENDANT OFFICERS using force on PLAINTIFF, they were advised

that PLAINTIFF was pregnant. Despite having that knowledge, DEFENDANT
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OFFICERS pulled and pushed PLAINTIFF to the ground, causing her to land on her
stomach.

12. DEFENDANT OFFICERS arrested PLAINTIFF for obstructing/resisting a peace
officer.

13. There was no probable cause for PLAINTIFF’S arrest.

14. DEFENDANT OFFICERS conspired to cover up their misconduct by writing false
narratives in official police reports, signing false criminal complaints, and initiating
and continuing false criminal charges against PLAINTIFF.

15. PLAINTIFF attended numerous court dates, and on January 10, 2020, the Cook
County State’s Attorney’s Office dismissed all criminal charges against PLAINTIFF.

16. As a direct and proximate result of the acts of DEFENDANT OFFICERS,
PLAINTIFF suffered damages, including but not limited to, physical and emotional
pain and suffering and loss of income.

COUNT I - 42 U.S.C. § 1983 FALSE ARREST

17. PLAINTIFF re-alleges and incorporates the factual allegations in paragraphs 7-16
above.

18. Detention without probable cause violates the Fourth Amendment (as applied to the
states by the Fourteenth Amendment). Manuel v. Joliet, 137 S. Ct. 911 (2017).

19. As outlined above, DEFENDANTS OFFICERS arrested PLAINTIFF without
probable cause in violation of PLAINTIFF’S Fourth Amendment rights.

20. The misconduct of DEFENDANT OFFICERS as outlined above proximately caused
injury to PLAINTIFF, including but not limited to, physical and emotional pain and
suffering and loss of income.

COUNT II- 42 U.S.C. § 1983 EXCESSIVE FORCE
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PLAINTIFF re-alleges and incorporates the factual allegations in paragraphs 7-16
above.
DEFENDANT OFFICERS committed excessive force against PLAINTIFF in
violation of PLAINTIFF’S Fourth Amendment right, as guaranteed by the Fourteenth
Amendment, to be free from unreasonable seizures.
The misconduct of DEFENDANT OFFICERS as outlined above proximately caused
injury to PLAINTIFF, including but not limited to, physical and emotional pain and
suffering and loss of income.
COUNT III- 42 U.S.C. § 1983 CONSPIRACY

PLAINTIFF re-alleges and incorporates the factual allegations in paragraphs 7-16
above.
DEFENDANT OFFICERS conspired with each other to file false police reports, file
false criminal complaints, and institute false criminal charges against PLAINTIFF.
DEFENDANT OFFICERS acted in concert with each other to deprive PLAINTIFF
of her rights as guaranteed by the United States Constitution.
The misconduct described in this Count was undertaken intentionally, with malice,
willfulness, wantonness, and reckless indifference to the rights of PLAINTIFF.
The misconduct of DEFENDANTS OFFICERS as outlined above proximately
caused injury to PLAINTIFF, including but not limited to, physical and emotional
pain and suffering and loss of income.

COUNT IV— ILLINOIS STATE LAW MALICIOUS PROSECUTION
PLAINTIFF re-alleges and incorporates the factual allegations in paragraphs 7-16

above.
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PLAINTIFF was improperly subjected to judicial proceedings without probable
cause. These judicial proceedings were instituted and continued by DEFENDANT
OFFICERS maliciously, resulting in injury, and all such proceedings were terminated
in favor of PLAINTIFF.
DEFENDANT OFFICERS accused PLAINTIFF of criminal activity knowing those
accusations to be without probable cause, and they fabricated evidence, made false
police reports, and signed false criminal complaints with the intent of exerting
influence to institute and continue judicial proceedings.
The misconduct described in this Count was undertaken with intentionally, with
malice, willfulness, wantonness, and reckless indifference to the rights of
PLAINTIFF.
DEFENDANT OFFICERS are or were employees of DEFENDANT CITY and acted
within the scope of their employment in committing the misconduct described herein
such that DEFENDANT CITY is liable for their actions.
The misconduct of DEFENDANT OFFICERS as outlined above proximately caused
injury to PLAINTIFF, including but not limited to, physical and emotional pain and
suffering and loss of income.

COUNT V-INDEMNIFICATION
PLAINTIFF re-alleges and incorporates the factual allegations in paragraphs 7-16
above.
Pursuant to the Illinois Tort Immunity Act, 745 ILCS 10/9-102, DEFENDANT CITY
is liable for any judgments for compensatory damages and attorneys’ fees in this case
arising from DEFENDANT OFFICERS’ actions.

REQUEST FOR RELIEF

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PLAINTIFF JESSICA WALKER respectfully requests this Honorable Court:
a. Enter judgment in her favor and against all Defendants;
b. Award compensatory damages against all Defendants;
c. Award attorney’s fees against all Defendants;
d. Award punitive damages against all Defendants; and
e. Grant any other relief this Court deems just and appropriate.
JURY DEMAND

PLAINTIFF demands a trial by jury on all issues so triable.

Respectfully Submitted,

/s/_ Jason Marx

JASON MARX

Attorney for PLAINTIFF

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